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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- X
                                       :
UNITED STATES OF AMERICA               :
                                       :                           DECLARATION IN SUPPORT
               -v.-                    :                           OF FINAL ORDER OF
                                       :                           FORFEITURE
                                       :
ROSS WILLIAM ULBRICHT,                 :                           S1 14 Cr. 68 (LGS)
      a/k/a “Dead Pirate Roberts,”     :
      a/k/a “DPR,”                     :
      a/k/a “Silk Road,”               :
                                       :
                     Defendant.        :
                                       :
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                David R. Felton, pursuant to Title 28, United States Code, Section 1746, declares

under penalty of perjury as follows:

                1.      I am an Assistant United States Attorney in the Office of Damian Williams,

United States Attorney for the Southern District of New York, and attorney for the Government

herein. I am responsible for the above-captioned matter, and as such, I am familiar with the facts

and circumstances of this proceeding. This declaration is submitted in support of the Government’s

submission for the entry of a Final Order of Forfeiture in the above-captioned case.

                2.      On or about December 5, 2022, the Court entered an Amended Preliminary

Order of Forfeiture as to Specific Property (D.E. 395) with respect to ROSS WILLIAM

ULBRICHT, a/k/a “Dread Pirate Roberts,” a/k/a “DPR,” a/k/a “Silk Road,” (the “Defendant”),

forfeiting to the United States all right, title, and interest of the Defendant in the following property:

            a) 50,491.06251844 BTC that the Government seized from Individual-1’s residence
               on or about November 9, 2021;
            b) 825.38833159 BTC that the Government seized from Individual-1 on or about
               March 25, 2022; and
            c) 35.4470080 BTC that the Government seized from Individual-1 on or about May
               25, 2022;
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(a. through c. collectively, the “Specific Property”).

               3.      The Notice of Forfeiture and the intent of the Government to dispose of the

Specific Property was posted on an official government internet site (www.forfeiture.gov)

beginning on December 6, 2022 for thirty (30) consecutive days, through January 4, 2023, pursuant

to Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty and Maritime Claims and Asset

Forfeiture Actions, and proof of such publication was filed with the Clerk of the Court February

1, 2023 (D.E. 398).

               4.      Since final publication of the Notice of Forfeiture, thirty (30) days have

expired and no petitions or claims to contest the forfeiture of the Specific Property have been filed.

               5.      The Defendant is the only person and/or entity known by the Government

to have a potential interest in the Specific Property.

               6.      Accordingly, the Government requests that the Court enter the proposed

Final Order of Forfeiture.

               7.      No previous application for the relief requested herein has been sought.

Dated: New York, New York
       February 6, 2023

                                               DAMIAN WILLIAMS
                                               United States Attorney for the
                                               Southern District of New York


                                       By:     _______/s/__________________
                                               David R. Felton
                                               Assistant United States Attorney
                                               One St. Andrew’s Plaza
                                               New York, New York 10007
                                               (212) 637-2299




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